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                  FREEMAN LAW FIRM, INC.

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                                       July 23, 2019
                                                                         3:19-mc-05027
Via Email to
newcases.tacoma@wawd.uscourts.gov

Clerk ofthe Court
United States District Court
Western District of Washington
l 717 Pacific Ave.
Tacoma, Washington 98402

       Re:     Request for DMCA Subpoena to Cloudflare, Inc. (re Veporns.com)

Dear Clerk ofthe Court:

       Petitioner MG Premium Ltd ("MG), through its undersigned counsel ofrecord,
hereby respectfully requests that the Clerk ofthis Court issue a Subpoena pursuant to 17
U.S.C. § 512(h) to service provider Cloudflare, Inc. to identify alleged infringers ofMG's
copyrighted material.

        MG is the owner ofnumerous copyrighted audiovisual works. In the course of
protecting its works, MG has determined that infringing copies ofthese works, posted at
the direction ofindividual users and without authorization from MG, appear on
Cloudflare's website, Veporns.com. Such infringements have been ongoing, causing MG
to issue notice ofsame to Cloudflare's DMCA Agent. Such notification fully met the
requirements of17 U.S.C. § 512(c)(3)(A) by setting forth, inter alia, a representative list
ofthe copyrighted works that have been infringed and the identification and location on
Cloudflare's website ofthe infringing material. MG now seeks to obtain a DMCA
Subpoena to learn the identity ofthe individuals who are posting the infringing content.

        In order to fully comply with 17 U.S.C. 512(h) DMCA Subpoena requirements,
the following items are submitted concurrently with this letter request:

       •       Copy ofnotification sent to Cloudflare's DMCA Agent (attached as
               Exhibit A to the Declaration ofMG's Director, Anis Baba, and Exhibit B
               to the DMCA Subpoena);

       •       DMCA Subpoena (proposed); and
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        •       Sworn Declaration of Anis Baba, Director of MG, confirming that the
                purpose of the DMCA Subpoena is to obtain the identity of the alleged
                infringers for the single purpose of protecting MG's rights under Title 17
                of the United States Code.

        With all conditions for issuance of the DMCA Subpoena having been met, MG
therefore petitions the Clerk to issue and sign, in accordance with 17 U.S.C. § 512(h)(4),
the proposed DMCA Subpoena, and return it to the undersigned requester for delivery to
the service provider, Cloudflare, Inc.

                                              Best regards,




SDF:djp
Attachments:
 -Proposed DMCA Subpoena
 -Sworn Declaration
 -Notification of Claimed Infringements
  (attached to Subpoena and Declaration)
